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06                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
07                                      AT SEATTLE

08 UNITED STATES OF AMERICA,              )             CASE NO. CR05-281-JLR
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )             SUMMARY REPORT OF U.S.
                                          )             MAGISTRATE JUDGE AS TO
11   ROBERT SHANE LUCAS,                  )             ALLEGED VIOLATIONS
                                          )             OF SUPERVISED RELEASE
12         Defendant.                     )
     ____________________________________ )
13

14          An initial hearing on supervised release revocation in this case was scheduled before me

15 on July 31, 2006. The United States was represented by AUSA Susan M. Roe and the defendant

16 by Timothy Lohraff appearing for Stewart P. Riley . The proceedings were digitally recorded.

17          Defendant had been sentenced on or about January 9, 2006 by the Honorable James L.

18 Robart on a charge of Possession of a controlled substance (cocaine), and sentenced to time

19 served (about 170 days), 1 year supervised release. (Dkt. 420).

20          The conditions of supervised release included the standard conditions plus the requirements

21 that defendant participate in drug testing, abstain from the use of alcohol, participate in a drug

22 treatment program, submit to search, reside in a halfway house for up to 90 days, provide access


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     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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01 to financial information, not be self-employed or employed by friends or relatives, obtain approval

02 for all employment, not work for cash, provide copies of pay stubs to his probation officer, and

03 not possess identification documents in any but his true name.

04          On January 19, 2006, defendant’s probation officer reported that defendant tested positive

05 for cocaine. He was reprimanded, placed in a structured testing program, and referred for

06 professional assessment and counseling. (Dkt. 426).

07          In an application dated February 10, 2006 (Dkt 439), U.S. Probation Officer Steven M.

08 McNickle alleged the following violation of the conditions of probation:

09          1.      Failing to report to the community corrections center on February 7, 2006 as

10 instructed, in violation of special condition 4.

11          In an application dated May 22, 2006 (Dkt 462), U.S. Probation Officer Brian K. Facklam

12 alleged the following violations of the conditions of probation:

13          2.      Committing the new law violations of residential burglary, attempted car theft, and

14 possession of stolen property, all during the month of May 2006, in violation of the general

15 condition that he not commit another federal, state or local crime.

16          3.      Failing to notify the probation officer within seventy-two hours of being arrested

17 by law enforcement on May 9, 2006.

18          4.      Using methamphetamine on or about May 9, 2006, in violation of standard

19 condition 7.

20          Defendant was advised in full as to those charges and as to his constitutional rights.

21          Defendant admitted the alleged violations and waived any evidentiary hearing as to

22 whether they occurred.


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01          I therefore recommend the Court find defendant violated his supervised release as alleged,

02 and that the Court conduct a hearing limited to the issue of disposition. The next hearing will be

03 set before Judge Robart.

04          Pending a final determination by the Court, defendant has been detained.

05          DATED this 31st day of July, 2006.



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07                                                Mary Alice Theiler
                                                  United States Magistrate Judge
08

09

10 cc:      District Judge:                Honorable James L. Robart
            AUSA:                          Susan M. Roe
11          Defendant’s attorney:          Stewart P. Riley, Timothy Lohraff
            Probation officer:             Steven M. McNickle, Brian K. Facklam
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     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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